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               IN THE UNITED STATES DISTRICT COURT FOR THE
                       EASTERN DISTRICT OF MISSOURI
                          SOUTHEASTERN DIVISION

THE STATE OF MISSOURI,          )
ex rel. ERIC S. SCHMITT, in his )
official capacity as Missouri   )
Attorney General,               )
                                )
      Plaintiff,                )
                                )
      v.                        )          Case No. 1:20-cv-00099-SNLJ
                                )
THE PEOPLE S REPUBLIC OF CHINA, )
THE COMMUNIST PARTY OF CHINA, )
NATIONAL HEALTH COMMISSION      )
                                )
CHINA, MINISTRY OF EMERGENCY    )
                                )
REPUBLIC OF CHINA, MINISTRY OF )
                                )
                                )
GOVERNMENT OF HUBEI             )
                                )
OF WUHAN CITY, WUHAN INSTITUTE )
OF VIROLOGY, and CHINESE        )
ACADEMY OF SCIENCES,            )
                                )
      Defendants.               )



                         AMICUS CURIAE BRIEF OF
            THE CHINA SOCIETY OF PRIVATE INTERNATIONAL LAW
    IN
                                                                    , ET AL.
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                                  STATEMENT OF INTEREST

        The China Society of Private International Law                         is an academic society

formed under Chinese law and dedicated to research and discussion of private international law

issues. It is interested in the law and theory of foreign sovereign immunity and the furtherance of

relations between China and the United States. It has been following this case in view of the foreign

sovereign immunity issues it raises and in view of its potential effects on Sino-U.S. relations.

                                         INTRODUCTION

        The Society respectfully requests that the Court accept this amicus curiae brief on the

question of subject-matter jurisdiction, in view of the significant subject-matter jurisdiction

implications, foreign sovereign immunity and other issues this case raises, and also in view of the

case's potential large effects on Sino-U.S. relations. It is important also to appreciate the reciprocal

nature of the doctrine of foreign sovereign immunity generally.

        This brief sets forth the reasons why the Court should find that Plaintiff has not sufficiently

alleged a basis for finding that subject-matter jurisdiction exists under the Foreign Sovereign

Immunities Act (FSIA). For purposes of this argument, we must assume that the allegations of

Plaintiff's complaint are true, Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 555 (2007), except

for conclusory allegations, unwarranted deductions of fact and unreasonable inferences, Sprewell

v. Golden State Warriors, 266 F.3d 979, 988 (9th Cir. 2001), despite the outrageous and unfounded

nature of certain of those allegations. However, the employment of this assumption, should not be

taken as an endorsement of the complaint's factual allegations.

                                            ARGUMENT

    I. The society as a non-party may suggest the lack of subject-matter jurisdiction.

        Under Fed. R. Civ. P. 12(h)(3)       f the court determines at any time that it lacks subject-

                                                           Defendants in this case are presumptively
                                                   1
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entitled to immunity under the FSIA, and if they are immune, subject-matter jurisdiction does not

exist.1 See 28 U.S.C. § 1330(a) (court has subject-matter jurisdiction only if the foreign state is not

                                                                                                   rance to

assert an immunity defense, a district court still must determine that immunity is unavailable under

           Verlinden B. V. v. Central Bank of Nigeria, 461 U.S. 480, 494 n.20 (1983) (emphasis

added). Given the central importance of subject-matter jurisdiction, a nonparty may bring to the

attention of a court the lack of subject-matter jurisdiction, pursuant to Fed. R. Civ. P. 12(h)(3):

        To the extent that a court has the power, or even duty, to consider a question sua
        sponte                                              -
        consider an issue on its own motion [as in the case of subject-matter jurisdiction],
        it does not matter what triggers the court's inquiry. The court may consider the issue
        once it is suggested by any party - or, for that matter, non-party - even if there is
        no reason to confer a special right of        -

Walters v. Indus. & Commer. Bank of China, Ltd., 651 F.3d 280, 292-293 (2d Cir. 2011) (emphasis

added); Jerez v. Republic of Cuba, 964 F. Supp. 2d 52 (D.D.C. 2013). Therefore, the Society as a

non-party to this lawsuit may suggest to this Court that the Court lacks subject-matter jurisdiction.

    II. The           noncommercial tort exception to immunity does not apply.

        The FSIA's noncommercial tort exception to immunity provides as follows:

        (a) A foreign state shall not be immune from the jurisdiction of courts of the United
        States or of the States in any case--
            ...
            (5) not otherwise encompassed in [the commercial activity exception to
            immunity], in which money damages are sought against a foreign state for
            personal injury or death, or damage to or loss of property, occurring in the

1

                                                                       Phoenix Consulting, Inc. v. Republic
of Angola, 216 F.3d 36, 39 (D.C. Cir.2000). Discovery, even discovery limited to jurisdictional issues,
                                                        -conclusory allegations that, if supplemented with
                                                                                       e applicability of the
        Crist v. Republic of Turkey, 995 F. Supp. 5, 12 (D.D.C. 1998). There are no such non-conclusory
allegations. Moreover, subject-matter jurisdictional findings cannot be created out of nothing pursuant to
Fed. R. Civ. P. 37(b)(2)(A)(i), as implied by plaintiff in ECF No.26, at 8. See Ins. Corp. of Ireland v.
Compagnie des Bauxites de Guinee, 456 U.S. 694, 702(1982).
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              United States and caused by the tortious act or omission of that foreign state or
              of any official or employee of that foreign state while acting within the scope
              of his office or employment; except this paragraph shall not apply to--
                  (A) any claim based upon the exercise or performance or the failure to
                  exercise or perform a discretionary function regardless of whether the
                  discretion be abused, or
                  (B) any claim arising out of malicious prosecution, abuse of process, libel,
                  slander, misrepresentation, deceit, or interference with contract rights . . . .

28 U.S.C. § 1605(a)(5). This exception applies only when the alleged tort occurs entirely within

                                                                           including not only the injury

but also the act precipitating that injury                                           Jerez v. Republic of

Cuba, 775 F.3d 419, 424 (D.C. Cir. 2014) (holding default judgment void because of lack of

subject-matter jurisdiction); In re Terrorist Attacks on September 11, 2001, 714 F.3d 109, 116 (2d

Cir. 2013).2 Therefore, jurisdiction does not exist under § 1605(a)(5), because all alleged acts and

omissions asserted by Plaintiff to be torts occurred in China.

      III. The FSIA's commercial activity exception to immunity does not apply.

          It has also been alleged that subject-matter jurisdiction exists under the "direct effect"

prong of the commercial activity exception to immunity, which requires that the action be based

    upon an act outside the territory of the United States in connection with a commercial activity of

the foreign state elsewhere and that act causes a direct effect in the United States." 28 U.S.C. §

1605(a)(2). Jurisdiction is lacking under this exception to immunity for the reasons below.




2
  The "discretionary function" and "misrepresentation: exceptions to the exception" also would bar suit.
See Stirling v. China, Case No. 3:20-cv-00713 (D. Or. Aug. 14, 2020, adopted Sept. 21,2020) (claim against
China for negligent release of coronavirus dismissed under discretionary functi
discretionary function exception replicates the discretionary function exception in the Federal Tort Claims
        In re Terrorist Attacks on Sept. 11, 2001, 349 F. Supp. 2d 765, 794 (S.D.N.Y. 2005). Under the
latter statute (28 U.S.C. § 2680), the U.S. courts have dismissed tort claims against the United States for
exposing people to "radiation, asbestos, Agent Orange, and blood contaminated by human
immunodeficiency virus (HIV)." R. Seamon, Causation and the Discretionary Function Exception to the
Federal Tort Claims Act, 30 U.C. Davis L. Rev. 691, 694 (1996).
                                                     3
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        A.

        None of the alleged acts or omissions of Defendants occurred in the United States, so there

is no jurisdiction under the "commercial activity" provision of the FSIA unless the case is based

on an act that had a "direct effect" in the United States. An effect was direct if it followed as an

immediate consequence of the defendant's activity in the foreign state. Republic of Argentina v.

Weltover, 504 U.S. 607, 618 (1992). A "direct effect" "is one which has no intervening element,

but, rather, flows in a straight line without deviation or interruption." Princz v. Fed. Republic of

Germany, 26 F.3d 1166, 1172 (D.C. Cir. 1994) (internal citation and quotation marks omitted).

See Restatement Fourth of the Foreign Relations Law of the United States § 454 (b)(3) ("a direct

effect is one that follows as an immediate consequence of the act") and § 454, comment (e) ("An

effect is not direct . . . if it is caused by an intervening act.").

        A chain of causal events had to occur before any person or business in the United States

became affected. According to the allegations, the coronavirus originated in China when some

persons there became infected. Even if one or more of Defendants committed some tortious act

or omission, causing this causal chain to start, without the intervening interpersonal transmission

through international travel, the harm suffered in the United States would not have occurred.

Hence the harm occurring in the United States cannot qualify as a "direct effect" under 28 U.S.C.

§ 1605(a)(2). The lack of a direct effect bars jurisdiction under § 1605(a)(2) in this case.

        Furthermore, an effect is not direct if it hinges on third parties' independent conduct.

Janvey v. Libyan Inv. Auth., 840 F.3d 248, 262 (5th Cir. 2016).3 The direct cause of infection to



3
 Plaintiff asserts that it is suing in a parens patriae capacity. Some statutes do authorize proceedings in
such a capacity, e.g., 15 U.S.C. § 15c (2006), 15 U.S.C. § 1679h(c)(1), 15 U.S.C. § 1681s(c), but the FSIA
does not authorize such actions. Moreover, the non-uniformity of alleged harms suffered by individual
Missouri citizens would make such a case unmanageable, even if it were authorized. Cf. Comcast Corp. v.
Behrend, 569 U.S. 27 (2013).
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the vast majority of persons in the United States would have been other infected persons present

in the United States due to the failure of the U.S. authorities to take effective measures to suppress

the spread of the coronavirus and the failure of persons to take proper preventive measures

(including the wearing of masks and social distancing). The harms allegedly suffered by Plaintiff

and Missourians as a consequence of the large number of infections contracted within the United

States are caused by independent conduct of U.S. authorities.

       B. The alleged commercial activities of Defendants are not commercial in nature.

       In addition, the Complaint fails to identify relevant commercial activity that could serve as

a basis for jurisdiction under the FSIA's commercial activity exception. The Complaint cites

various governmental activities and attaches the label "commercial" thereto in a conclusory

fashion, and uses incorrect criteria for determining when an activity is commercial under the FSIA.

Plaintiff's mischaracterizations are exemplified in its list of allegedly "commercial activities":

       (1) operation of the healthcare system in Wuhan and throughout China; (2)
       commercial research on viruses by the Wuhan Institute and Chinese Academy of
       Sciences; (3) the operation of traditional and social media platforms for commercial
       gain . . . .

Complaint, ¶ 40. (Regarding ¶ 40(4), concerning personal protective equipment (PPE), see below.)

       A foreign state engages in commercial activity under the FSIA "when a foreign government

acts, not as a regulator of a market, but in the manner of a private player within it." Republic of

Argentina v. Weltover, 504 U.S. 607, 614 (1992) (emphasis added); Saudi Arabia v. Nelson, 507

U.S. 349, 360 (1993). To determine whether a foreign state's activity is "commercial" for purposes

of the FSIA, one must ask "whether the particular actions that the foreign state performs (whatever

the motive behind them) are the type of actions by which a private party engages in 'trade and

traffic or commerce.'" Id. (emphasis added). See also Restatement Fourth of the Foreign Relations

Law of the United States § 454 (b)(2) ("commercial activity means a foreign state's participation


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in the marketplace in the manner of a private party") (emphasis added).

       In fact, (1) the "commercial activity" exception of the FSIA does not encompass the

administration of a government program to provide for the health and welfare of a sovereign's

citizens and residents. Elbasir v. Kingdom of Saudi Arabia, 468 F. Supp. 2d 155, 161 62 (D.D.C.

2007). See also Anglo-Iberia Underwriting Mgmt. Co. v. P.T. Jamsostek, 600 F.3d 171, 178 (2d

Cir. 2009) ("actions in connection with the administration of Indonesia's national health insurance

program are sovereign in nature and do not suffice to bring [defendant] within the 'commercial

activity' exception to the FSIA").

       As for (2) research on viruses, Plaintiff alleges, without any basis, that "the Wuhan Institute

of Virology . . . was studying the virus as part of a commercial activity." (Complaint, ¶ 52).

Scientific research into important human health issues such as that carried out by the Wuhan

Institute of Virology            and numerous institutes of the U.S. National Institutes of Health

such as the National Institute of Allergy and Infectious Diseases (NIAID), is not in itself

commercial. It is true that one of these government organizations might commercialize its

research. If that occurred and if it committed a legal wrong relating to that commercializing activity

(for example, breaching a contract into which it had entered with a drug manufacturer), it could be

sued under the FSIA's "commercial activity" exception. However, Plaintiff does not identify any

commercializing activities. Instead, the allegations are based on the simple fact that WIV, a state-

owned scientific institution similar to NIAID, was conducting scientific research into viruses.

       It is notable that Plaintiff refers not to WIV but to "[t]he Chinese Academy of Sciences

seek[ing] to 'commercialize' its discoveries and boast[ing] about spinning off hundreds of

companies from its activities." (Complaint, ¶ 32.) The Chinese Academy of Sciences ( CAS ) is

a different Chinese legal person from WIV. Plaintiff cannot disregard the juridically separate



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status of different state-owned persons one from another. See

el Comercio Exterior de Cuba, 462 U.S. 611 (1983); Walters v. Indus. & Commer. Bank of China,

Ltd., 651 F.3d 280, 298-99 (2d Cir. 2011).

       In any event, Plaintiff has not alleged any specific commercializing activities of CAS or

virus research activities of CAS -- or, indeed, any activities of CAS -- on which it could base its

claims. It also has not identified any alleged commercializing activities of WIV with respect to

COVID-19. The FSIA's "commercial activity" exception to immunity does not provide for any

general "doing business" test, whereby engaging in any kind of commerce would provide a basis

for jurisdiction, even if the claims alleged are not based on or substantively connected to the



                                                                  . . . that, if proven, would entitle a

                                                           Saudi Arabia v. Nelson, 507 U.S. at 356-

57; OBB Personenverkehr AG v. Sachs, 577 U.S. 27, 33-34 (2015). Thus, in Nelson, the Supreme

Court "found that the [foreign state's] commercial activities, while they 'led to the conduct that

eventually injured the Nelsons,' were not the particular conduct upon which their suit was based.

The suit was instead based upon the [foreign state's] sovereign acts that actually injured them. The

                                                  a)(2)." OBB, 577 U.S. at 34.

       Plaintiff's (3), "the operation of traditional and social media platforms for commercial

gain," illustrates Plaintiff's strategy. The reference to "commercial gain" seems to be a way of

trying to shoehorn Plaintiff's allegations into the commercial activity exception. In fact, Plaintiff

allegation is about the exercise of sovereign powers. Plaintiff refers to media not operated by

Defendants and refers to no commercial activity of Defendants, but rather to alleged government

regulation in the form of censorship concerning COVID-19, which it claims constituted a "cover-



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up" causing harm. See Complaint, ¶¶ 79-81. Thus, the claim is actually based on an alleged

exercise of the government's sovereign power, or alleged abuse of such power, in the form of

government censorship. Such allegations do not describe "commercial activity" and cannot serve

as the basis for a claim under the "commercial activity" exception: "The [alleged] conduct boils

down to abuse of the power of its police by [a foreign government], and however monstrous such

abuse undoubtedly may be, a foreign state's exercise of the power of its police has long been

understood for purposes of the restrictive theory as peculiarly sovereign in nature." Saudi Arabia

v. Nelson, 507 U.S. 349, 361 (1993). "Exercise of the powers of police and penal officers is not

the sort of action by which private parties can engage in commerce." Id. 4

        With regard to allegations concerning "(4) production, purchasing, and import and export

of medical equipment, such as personal protective equipment ('PPE'), used in COVID-19 efforts"

(Complaint, ¶ 37), jurisdiction does not exist under the FSIA for a number of reasons, and in any

event, adjudication is barred by the act of state doctrine. Notably, Plaintiff does not identify what

entities are producing, purchasing, importing, or exporting PPE. Plaintiff is not basing its claims

on the commercial activities of these enterprises; it is basing them on the sovereign regulatory

actions of the Chinese state -- actions of the same type as the U.S. Government has taken.

        Much of Plaintiff's "hoarding" claim is based on allegations concerning a Chinese

government ban on exports of PPE. (Complaint, ¶ 175.) However, an export ban is a quintessential

sovereign act that can only be conducted by a sovereign state and cannot serve as a basis for

jurisdiction under the FSIA, and is an act of a

sovereign State is bound to respect the independence of every other sovereign State, and the courts

of one country will not sit in judgment on the acts of the government of another done within its


4
  The acts on which the lawsuit's claims are based also lack the requisite substantive or causal connection
to the "commercial activity" of the operation of traditional and social media platforms.
                                                    8
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                 Underhill v. Hernandez, 168 U.S. 250, 252 (1897). The act of state doctrine simply

requires reviewing courts to deem valid the acts of foreign sovereigns taken within their own

jurisdictions.                                                                     l, 493 U.S. 400, 409

(1990). In every case where the act of state doctrine is applicable, the relief sought or the defense

interposed would have required a court in the United States to declare invalid the official act of a

                                                           Id. at 405. Indeed, the United States itself

has imposed an export ban on PPE. See Presidential Memorandum on Allocating Certain Scarce

or Threatened Health and Medical Resources to Domestic Use (Apr. 3, 2020), available at

https://www.whitehouse.gov/presidential-actions/memorandum-allocating-certain-scarce-

threatened-health-medical-resources-domestic-use/. China has the same right as the U.S. to

encourage and regulate the production, purchasing and selling activities of domestic enterprises to

protect the health of its citizens. See id. (exercising authority under the Defense Production Act of

1950, as amended (50 U.S.C. § 4501 et seq.)). Such regulation is a sovereign activity, and is not

itself a commercial activity even though it affects commercial activity.5

        Moreover, the alleged effect of China's regulatory actions cannot constitute a "direct effect"

for purposes of the FSIA. Even in cases that involve undeniably commercial activities, a loss

suffered in the United States due to a breach of a commercial obligation occurring outside the

United States, even where the U.S. party has a contractual or other legal relationship to the foreign

party, does not constitute a "direct effect":

        the mere fact that an American corp

                                       . . . To allow such a loss to be the basis for jurisdiction
                                            urisdiction over virtually any suit arising out of an

5

and therefore not itself commercial activity. El Omari v. Kreab (USA) Inc                         ;
Best Med. Belgium, Inc. v. Kingdom of Belgium, 913 F. Supp. 2d 230, 237 38 (E.D. Va. 2012); Kato v.
Ishihara, 360 F.3d 106, 112 (4th Cir. 2004).
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       overseas transaction in which an American citizen claims to have suffered a loss
                                         . . . Such a result, we held, was inconsistent with
       Congress's intent to limit jurisdiction to those cases in which the act caused a


Big Sky Network Canada, Ltd. v. Sichuan Provincial Gov't, 533 F.3d 1183, 1190 (10th Cir. 2008)

(Gorsuch, J.) (internal citations omitted); Peterson v. Royal Kingdom of Saudi Arabia, 416 F.3d

83 (D.C. Cir. 2005). Thus, commercial losses and a fortiori non-commercial losses ultimately

experienced in the United States due to "production, purchasing, and import and export" of PPE

outside of the United States do not constitute "direct effects" for purposes of the FSIA.

       Also, the allegations do not satisfy the "in connection with" requirement of the "direct

effect" provision. Under § 1605(a)(2), the act that caused the direct effect has to be "in connection

with" a commercial activity of the foreign state defendant. The claims in this case are based on

alleged sovereign regulatory acts of the Chinese state, but the commercial activities (production,

purchasing, selling) are not those of the Chinese state Defendants, but instead activities of other

entities. Plaintiff cannot deem these enterprises as if they are all an undifferentiated part of the

Chinese state. See                 y Bank v. Banco Para el Comercio Exterior de Cuba, 462 U.S.

611, 626-27 (1983) ("government instrumentalities established as juridical entities distinct and

independent from their sovereign should normally be treated as such"); see also Walters v. Indus.

& Commer. Bank of China, Ltd., 651 F.3d 280, 298-99 (2d Cir. 2011). 6

       Regarding Plaintiff                that Defendants owe a duty of care to Missourians not to

engage in what they have alleged to constitute "hoarding," (Complaint, ¶ 176), no legal relationship

exists between the Chinese sovereign Defendants and U.S. persons (or U.S. States) that gives rise

to the alleged duty of care any more than the United States owes such a duty of care to the citizens


6
  A fortiori, the commercial activities of non-state-owned enterprises in China, such as the 3M-owned
enterprise manufacturing PPE, cannot be attributed to the Chinese state as a commercial activity of the
state.
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of China or of other countries. Plaintiff has not identified the source of any such duty of care. In

fact, no such duty of care applies to Defendants.7 In any event, the center of gravity of the allegedly

wrongful actions of Defendants is China. The proper law to be applied would not be the common

law of the state of Missouri as Plaintiff claims, but the law of China.

        In addition, the alleged regulation of exports of PPE and alleged directives concerning

purchases and sales of PPE were centered in China. The Supreme Court has observed that using

"principles of prescriptive comity," it "ordinarily construes ambiguous statutes to avoid

unreasonable interference with the sovereign authority of other nations." F. Hoffman-La Roche

Ltd. v. Empagran S.A., 542 U.S. 155, 165, 164 (2004). The comity concerns associated with

extraterritorial application of U.S. antitrust law militate against exercising jurisdiction in this case,

especially since Defendants are not state-owned commercial enterprises but the Chinese state itself

and some of its organs, and because the case call into question sovereign, regulatory actions -- not

commercial actions -- of a type that the U.S. Government itself undertakes, and for which it could

be sued if China could be sued. These are not matters to be resolved in local courts of one country

or another, particularly where there is an issue of how much one country is at fault, and how much

another is for its malfeasance in protecting the health of its citizens. Adjudication of this case in a

local court would interfere with the conduct of foreign affairs in relations with and the resolution

of disputes with China. When it comes to the actions of a sovereign in sovereign capacities,

particular heed should be taken of the Supreme Court's observation long ago that "the courts of

one country will not sit in judgment on the acts of the government of another done within its own


7
  There are some allusions to sales of allegedly substandard Chinese PPE to the United States. Complaint,
¶ 129, when Defendants actually sold nothing to the United States. Chinese commercial parties that have
chosen to introduce goods into the stream of U.S. commerce by making sales of PPE to the United States
presumably would be subject to the jurisdiction of U.S. courts if U.S. purchasers were to file claims alleging
that such Chinese manufacturers or other vendors shipping products to the United States failed to meet
agreed specifications. That would be a different case altogether.
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territory. Redress of grievances by reason of such acts must be obtained through the means open

to be availed of by sovereign powers as between themselves" -- that is, by consultations between

the sovereigns, not by litigation in the local courts of one or the other of the sovereigns. Underhill

v. Hernandez, 168 U.S. 250, 252 (1897). The same "principles of prescriptive comity" should also

inform the interpretation of the "direct effect" prong of the FSIA's "commercial activity" exception

to immunity. In particular, that provision should not be interpreted to interfere with the sovereign

authority of other states when they are exercising their sovereign authority with the same types of

acts as the United States itself engages in the exercise of its sovereign authority.

       In fact, all of the asserted causes of action are based on alleged acts, or on alleged failure

to undertake acts, that are sovereign in nature, not commercial. Essentially the causes of action

assert that Defendants did not exercise sovereign powers to prevent the rise of or prevent the spread

of the coronavirus. Similar claims have been made in U.S. public discourse about the perceived

inaction and malfeasance of the U.S. Government, which has resulted in a far greater spread of the

virus in the United States than in other countries where the governments undertook better

mitigating measures.     Obviously, none of these would be actionable under the FSIA's tort

exception, because all would be based on alleged acts, or failure to act, occurring in China.

       C. The allegations are not based upon acts that have substantive or causal connection
          to the alleged commercial activities of Defendants.

       Because these causes of action are not actionable under the FSIA's tort exception, Plaintiff

attempts to connect these alleged acts to some commercial activity to which Defendants' sovereign

acts would have been undertaken in connection with. The statutory              n connection as used

in the FSIA is a term of art, and courts interpret it narrowly. Anglo-Iberia Underwriting Mgmt. v.

P.T. Jamsostek, 600 F.3d 171, 178 (2d Cir. 2010). In order to satisfy that requirement, the wrongful

act causing the alleged harm must have a "substantive connection" or "causal link" to the asserted


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commercial activity. Anglo-Iberia, 600 F.3d at 178; Adler v. Fed. Republic of Nigeria, 107 F.3d

720 (9th Cir. 1997); Restatement Fourth of the Foreign Relations Law of the United States § 454,

note 7. "[T]angential commercial activities to which the 'acts' forming the basis of the claim have

only an attenuated connection," Anglo-Iberia, 600 F.3d at 179 (quoting Drexel Burnham Lambert

Group Inc. v. Comm. of Receivers for A.W. Galadari, 12 F.3d 317, 330 (2d Cir. 1993)), cannot

provide a basis for FSIA jurisdiction.

        Therefore, there is no jurisdiction under the FSIA's commercial activity exception.8

    IV. All named defendants are entitled to immunity.

        Plaintiff recognizes that the People's Republic of China and the other Defendants are

presumptively entitled to immunity under the FSIA, with the exception of the Communist Party of

China ( CPC ), CAS, and WIV, which in fact do fall within the coverage of the FSIA.

        With regard to CPC, Plaintiff has cited Yaodi Hu v. Communist Party of China, 2012 WL

7160373, at *3 (W.D. Mich. Nov. 20, 2012) as support for its position. (Complaint, ¶ 19.)

However, the issue of CPC's status under the FSIA was not litigated in that case. The magistrate

judge did state that CPC was not entitled to FSIA immunity, but provided no analysis in this regard,

possibly because it was unnecessary and therefore dictum, given that there was an independent

basis for dismissal (failure to state a claim under the Alien Tort Statute). By contrast, a federal

court held that China Central Television is an instrumentality of the People's Republic of China

                                                                       Chen v. China Cent. TV, 2007

U.S. Dist. LEXIS 58503 (S.D.N.Y., Aug. 9, 2007). See also Saludes v. Republica de Cuba, 577 F.



8
 "[T]he 'gravamen' of the complaint is that the Chinese government, acting outside the United States,
breached its international obligations, with disastrous consequences for the rest of the world. The FSIA
does not provide jurisdiction over these claims.'" Professor Chimène Keitner,
                                               , Just Security (Apr. 22, 2020), available at
https://www.justsecurity.org/69817/missouris-lawsuit-doesnt-abrogate-chinas-sovereign-immunity/.
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Supp. 2d 1243 (S.D. Fla. 2008) (Communist Party of Cuba is covered by the FSIA). In fact, the

Constitution of the People's Republic of China provides that "[t]he socialist system is the basic

system of the People's Republic of China. The leadership of the Communist Party of China is the

defining feature of socialism with Chinese characteristics." XIANFA art. 1, § 2 (1982) (China). "In

China, the CCP [Chinese Communist Party] arguably is the state." Keitner,

                               overeign Immunity.

        Moreover, Plaintiff effectively alleges that CPC is a part of the Chinese state. See

Complaint, ¶ 17 (

in Asia"); id. ¶ 18 (CPC "is the sole governing party within China"); id. ¶ 20 ("the Communist

Party exercised direction and control over the actions of all other Defendants"). Plaintiff cannot

both maintain that CPC exercises state power and deny that it is part of the state. An organ alleged

to be exercising such paramount state power is necessarily a part of the state, and therefore

qualifies for sovereign immunity under the FSIA. See Chen v. China Cent. TV. 9

        Plaintiff also alleges that WIV and CAS are not covered by the FSIA. In fact, both of these

entities are the type of Chinese legal person known as a "public institution," directly owned by the

Chinese state (as evidenced by their public institution registration certificates, attached with

translations, see Exhibit A). As a result, they constitute "agencies or instrumentalities of a foreign

state" under the FSIA. Consequently, they must be served in accordance with the FSIA.10 They

also are immune unless the claims against them are based on an activity made non-immune by the

FSIA. As explained above, WIV was no more studying coronaviruses "as part of a commercial


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  The definitions in the FSIA are "ill-suited to concepts which exist in socialist states." Yessenin-Volpin v.
Novosti Press Agency, 443 F. Supp. 849 (S.D.N.Y. 1978) (holding the Soviet's Union's Novosti Press
Agency to be an agency or instrumentality of a foreign state under the FSIA, and immune from the claims
in question as a consequence).
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   China considers that its reservation in the Hague Service Convention against service by mail covers
service by electronic mail, i.e., e-mail.
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activity" than the U.S. NIAID has been. Plaintiff's conclusory "part of a commercial activity"

allegation is an attempt to convert scientific research activities of government institutes around the

world into commercial activities. Regarding CAS, Plaintiff does not identify any activity upon

which it could base a claim against the CAS. Instead, it in effect incorrectly maintains that it can

sue CAS on the basis that it sometimes commercializes research, even if such commercializing

activity has nothing to do with the basis of Plaintiff's claim.

       Consequently, all Defendants are covered by the FSIA.

                                          CONCLUSION

       In conclusion, Defendants are immune under the FSIA and this Court lacks subject-matter

jurisdiction. Respectfully, the Society requests the Court sua sponte dismiss this matter.



Date: September 15, 2021


                                               Respectfully submitted,

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